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                             EXHIBIT 1
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                 IN THE CIRCUIT COURT OF RANKIN COUNTY, MISSISSIPPI

MONICA LEE, et al.                                                                     PLAINTIFFS

V.                                                                             CAUSE NO. 2022 -73

RANKIN COUNTY, MISSISSIPPI; et al.                                                   DEFENDANTS

                               AFFIDAVIT OF HUNTER ELWARD

STATE OF MISSISSIPPI
COUNTY OF RANKIN

       NOW COMES Hunter Elward, Affiant, and first being duly sworn does hereby state upon

first-hand personal knowledge and under oath, as follows:

       1.        I, Hunter Elward, have personal, first-hand knowledge of the facts set forth in this

affidavit. I am under no physical or mental disability and am competent to make this affidavit.

       2.        I was a deputy with the Rankin County Sheriff's Department on July 26, 2021 and

was present during the incident detailed in my report attached hereto as Exhibit A. The facts

contained in my report as are true, accurate, and correct.

       3.        During my investigation of the alleged breaking and entering of 132 Foote Drive,

and in addition to the information contained in my report, I was advised that the suspect may have

taken a shotgun from the residence. I notified dispatch of this information at or around 20:31 :02

military time.

       4.        I tried to arrest the suspect at 147 Foote Drive by repeatedly instructing him to tum

around and put his hands behind his back. This occurred at or around 20:42:28 military time

according to the time stamp associated with my audio call. Instead of complying, the suspect

"swung at me and swatted at [the] taser" I was holding.

       5.        I deployed my Taser only after the attempted assault on my person and to prevent

the suspect from obtaining a weapon in the residence to use against me or other individuals.




                                            Exhibit 2
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           6.        According to the time stamps on audio calls, the suspect was in handcuffs by around

 20:45 :11 military time.

           7.        The suspect continued to struggle through the time Deputy Stickman and I got him

 into the back of my vehicle, and did not appear to be experiencing any medical emergency. He

 was seated in the back of my vehicle when I went to retrieve my belongings from the residence.

           8.        Medical assistance was immediately requested once I returned and could not feel

 the suspect's pulse.

           FURTHER, Affiant sayeth naught.




           SWORN TO AND SUBSCRIBED BEFORE ME, this rt 3                         day of January, 2023.



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 PRINT DATE: 07/28/2021              NUMBER: 2021071701                                      Page 4
     Agency:   RCSO               Author: ELWARD, HUNTER THOMAS
Incident No:   2021071701                Title: BREAKING AND ENTERING                   Report Type:   I
                                  Date Entered: 7/28/2021
July 26th, 2021
Deputy Hunter Elward

On the above date I was dispatched to 132 Foote Drive for a reported vandalism. Upon
my arrival on scene I spoke with the homeowner Jonathan Foote who stated when he arrived home
from work his step-son was outside feeding the chickens. He then went inside the house where he
saw a black male standing in his house busting holes in the wall with a pipe and tearing at it with his
hands. Mr. Foote stated he was acting extremely "out of it" and asked him why he was in his house
and the suspect stated "I'm talking to your son ." In return Mr. Foote stated "my son is outside, what
the fuck are you doing in my house". At this point Mr. Foote stated to me that the suspect ran
outside and got in the car with his mother, Monica. Mr. Foote knew who the suspect was by the
name of "Toot", and he didn't know his real name but that he lived in the last house on the left at the
end of the street. I then asked him what "Toot" was wearing and he stated he was wearing blue
shorts, a white shirt, and tennis shoes. I told Mr. Foote I was going to go to the house to try and
make contact with the suspect, and as I walked out the door the suspects mother stopped in front of
the house I asked her where "Toot" was and she stated he's at her house. She then asked if he was
in trouble and if the house he had been in was messed up. I told her yes the house was damaged
and he was going to have to come with me, and that I need to speak with him. She stated I could
follow her to the house to make contact with him. Upon our arrival at 147 Foote Drive I asked
Monica what "Toot" real name was and she stated Damien Cameron. I relayed that information to
dispatch , and myself and Monica went through the house to make contact with Damien. He was not
inside the residence and she stated he must have ran into the woods to hide. I then told Monica to
wait outside and I was going to go to my unit to make a phone call to R-11 Dimartino who was the
investigator on call. He advised me since we had a positive ID on the suspect to just take pictures of
the damages to Mr. Foote's house and continue from there. As I was still on the phone with R-11 the
suspect came out of the wooded area to the left of the house at 147 Foote Drive. The subject fit the
description given to me, his mother confirmed his identity by pointing at him and yelling that's him,
that's Toot. When I exited my unit and I yelled his name he took off running behind the house. I
gave chase and was able to get out in front of him on the other side of the house. I drew my taser
from its holster and told him to put his hand behind his back and the suspect kept telling me his
name was Cornelius. The mother to the suspect was standing behind me and at that point yelled to
me "that isn't Cornelius, that's Damien. I told the suspect to place his hands behind his back
repeatedly and started walking towards him. While I was walking towards him he kept back peddling
towards the house saying he needed to get his ID, and I told him do not go into that house or I am
going to tase you. I got within arms reach of him and he swung at me and swatted at my taser with
his hand and turned and took off running to the house. I deployed my taser striking the suspect in
the center of his back, and he fell onto the back steps of the house. I then got on top of him to
attempt to place him in custody and , with unusual strength, he picked me up and went into the
house with me still on him. As he was going through the house I kept yelling for him to just put his
hands behind his back wh ich he refused. We made our way through the kitchen and into the living
room where I was able to get his feet out from under him and take him to the ground . At this point
he began trying to strike me with his fists but I was able to hold his hands away from me. The barbs



                                             Exhibit A                                             RC 012
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to the taser were still in his back so I initiated my taser again with little or no effect. He was able to
get me off of him again and made his way to the front left bedroom of the house. When he entered
the bedroom he turned around and started pulling at the taser leads and then attempted to run past
me to get back out the door. I grabbed ahold of him and managed to bring him to the floor. I gave
another command to put his hands behind his back and he then continued to try and punch me, and
at that pointed I used a closed fist to get compliance, and in the movement I struck him at or near
the left eye twice. After that I leaned away from him and reloaded another cartridge into my taser
but before I could deploy it he slammed my hand and the taser into the floor causing it to discharge
into the floor of the room . The mother of the suspect came, to assist me, and tried to hold his legs
down to keep him from kicking his way out from under me, and she kept yelling at him to stop
fighting repeatedly. I struck the suspect at or near the face again with a closed fist and he rolled
over onto his belly but put his hands under him to where I couldn't get his hands free . At this point
Deputy Stickman arrived and with his assistance we were able to get him in handcuffs. He then
resisted the whole time we were walking him through the house to the point that we all almost fell off
the front porch . We made it to my patrol unit and tried to get him in the back seat but he would go
back and forth from resisting and kicking, to dropping himself to the ground and we tried 6 or 7
times to pick him up into the back seat but from the rain and the mud , and his strong resistance , he
would wiggle his way back to the ground. At this point he just sat there for about minute so myself
and Deputy Stickman might recover as well. The mother Monica was standing next to him trying to
get him to comply and to quit acting the way he was. After that brief moment I picked the suspect up
around the waist and placed most of his body inside the back of my unit, and Deputy Stickman went
to the other side and pulled him the rest of the way. At this time his feet were still pushing outside
and when I would attempt to shut the door he would kick the door and straighten his legs out to
where I couldn't shut the door. I kept giving verbal orders to bend his legs and to quit doing it but he
wouldn't cooperate. After several attempts and him kicking at me near my stomach I asked Deputy
Stickman for his taser because mine was still inside from the struggle in the house. I then used
Deputy Stickmans taser to drive stun the suspect in the back of the thigh and he pulled his legs in
allowing me to shut the door. Once Damien was secured inside the vehicle myself and Deputy
Stickman went to his unit to clean up with hand sanitizer and then went back inside the house with
the mother to recover my taser and belongings. I retrieved the suspects ID and spoke with the
mother for a brief moment. She asked me what she could do to help him and she was tired of
dealing with his behavior and didn't know what she could do to get him some help with his history of
violent behavior and he was diagnosed with Schizophrenia. I advised the mother she needed to go
to chancery court to get him committed for an evaluation. I then told her we were leaving and I didn't
need anything else from her. Myself and Deputy Stickman then went back to our units to head back
to the complainants house to process that scene and gather any other information from him. I
walked to the rear door of my unit where Damien was and opened it to check on him and he was
slumped over the seat. He wouldn 't verbally respond , so I checked for a pulse at the neck and
couldn't feel one. I then pulled Damien out of the back seat and on to the ground and started
performing chest compression's on him immediately. Deputy Stickman saw me doing this and ran to
assist me and immediately called via radio for medical assistance. Myself and Deputy Stickman
alternated performing CPR on him until Fire personnel got on scene and took over. Once Pafford
arrived they transported the suspect to Simpson General Hospital.




                                                                                                    RC 013
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End of Report
Deputy Elward R-52




                                                                                  RC 014
